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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLO RIDA

                                           C ase N o.16-20893-CR -M O RE NO

  UNITED STATES OF AM ERICA,

                       Plaintiff,
 VS.

 M O NTY R AY G R O W ,

               Defendant.             /

            JUDGM ENT OF ACOUITTAL AS TO COUNTS 50 and 51O NLY
       JudgmentofAcquittalis entered herein asto the defendant, M ON TY ItAY GROW ,on

 Cotmts50 and 51O NLY.
                                                         .   P'
       D O NE A N D O R DE RED in M iam i, Floridathis   V ldayofJanuary,2018.

                                                              1
                                                 FED ERI      .      NO
                                                 UNIT D S      ES DISTRICT JUDGE

 Copiesfurnished to:

 Al1counselofrecord
